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               EXHIBIT A

                    FINAL FEE CHART
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                                           HARTMAN SPE, LLC
                                           FINAL FEE APPLICATIONS


                                              FINAL                                  FINAL
                                DOCKET                      FINAL FEES
PROFESSIONAL AND ROLE                        PERIOD                                 EXPENSES         TOTAL
                                 NO.                        REQUESTED
                                            COVERED                                REQUESTED


DEBTOR’S PROFESSIONALS:

Katten Muchin Rosenman
          LLP                              09.13.2023 —
 Counsel for the Debtor         803, 824   03.27.2024      $1,732,721.00            $2,318.28     $1,735,039.28
Chipman Brown Cicero &
       Cole, LLP
Delaware Counsel for the                   09.13.2023 —
         Debtor                   790      03.27.2024       $368,372.50             $6,041.64     $374,414.14
     Epiq Corporate
   Restructuring, LLC
  Claims Agent for the                     09.13.2023 —
         Debtor                   804      03.27.2024           $20,612.10           $0.00         $20,612.10


OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ (THE “COMMITTEE”) PROFESSIONALS:



   Fox Rothschild LLP                      09.25.2023 —
Counsel for the Committee       805, 827   03.27.2024       $350,893.00            $10,965.50     $361,858.50
     J.S. Held, LLC
      (f/k/a Phoenix
  Management Services,
           LLC)
 Financial Advisor for the                 10.02.2023 –
        Committee                 806      03.27.2024           $87,832.00           $0.00         $87,832.00




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